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10

11                               UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                 )   Case No. CR-18-00258-EJD
15                                             )
            Plaintiff,                         )   MS. HOLMES’ MOTION TO EXCLUDE
16                                             )   CERTAIN RULE 404(B) EVIDENCE FOR
       v.                                      )   LACK OF EXPERT SUPPORT UNDER
17                                             )   FEDERAL RULES OF EVIDENCE 401-403
     ELIZABETH HOLMES and                      )   AND 701-702
18   RAMESH “SUNNY” BALWANI,                   )
                                               )   Date: January 22, 2021
19          Defendants.                        )   Time: 10:00 AM
                                               )   CTRM: 4, 5th Floor
20                                             )
                                               )   Hon. Edward J. Davila
21                                             )
                                               )
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     MOTION TO EXCLUDE CERTAIN RULE 404(B) EVIDENCE FOR LACK OF EXPERT SUPPORT
     UNDER FEDERAL RULES OF EVIDENCE 401-403 AND 701-702
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 1                           MOTION TO EXCLUDE CERTAIN RULE 404(B)
                             EVIDENCE FOR LACK OF EXPERT SUPPORT
 2
            PLEASE TAKE NOTICE that on January 22, 2021, or on such other date and time as the Court
 3
     may order, in Courtroom 4 of the above-captioned Court, 280 South 1st Street, San Jose, CA 95113,
 4
     before the Honorable Edward J. Davila, Defendant Elizabeth Holmes will and hereby does respectfully
 5
     move the Court pursuant to Rules 401-403 and 701-702 of the Federal Rules of Evidence for an Order
 6
     excluding certain categories of Rule 404(b) disclosed by the government for which it has failed to
 7
     disclose supporting expert evidence. The Motion is based on the below Memorandum of Points and
 8
     Authorities and Exhibits, the Declaration of Amy Mason Saharia, the record in this case, and any other
 9
     matters that the Court deems appropriate.
10

11
     DATED: November 20, 2020
12

13
                                                         /s/ Amy Mason Saharia
14                                                       KEVIN DOWNEY
                                                         LANCE WADE
15                                                       AMY MASON SAHARIA
                                                         KATHERINE TREFZ
16                                                       Attorneys for Elizabeth Holmes
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2          The government has disclosed under Rule 404(b) its intent to introduce three categories of

 3 evidence relating to specific aspects of Theranos’ laboratory operations. In each case, the government

 4 claims that Theranos violated industry standards or otherwise engaged in improper practices, and

 5 suggests that this evidence proves Ms. Holmes’ intent to defraud. But the government cannot prove that

 6 Theranos’ practices violated industry standards or were otherwise improper. These are issues “based on

 7 scientific, technical, or other specialized knowledge,” Fed. R. Evid. 701, that require expert testimony,

 8 and the government has disclosed no such expert opinions. Nor will any expert opine that these aspects

 9 of Theranos’ laboratory practices rendered Theranos’ tests inaccurate or unreliable. Absent any reliable

10 expert opinions on these subjects, this evidence is simply irrelevant, and any connection between this

11 evidence and Ms. Holmes’ intent is speculative. Because the government has failed to provide the jury

12 with the expert testimony necessary to draw reliably any relevance from this evidence, the evidence will

13 confuse the jury and spawn mini-trials to put it in context. The Court should exclude the evidence under

14 Rules 401-403 and 701-702.

15                                                ARGUMENT

16          This motion seeks to exclude three categories or subcategories of alleged evidence disclosed by

17 the government under Rule 404(b): (1) “Multiplexing test results and disregarding outliers to mask

18 inconsistency,” (2) “Improperly setting and altering reference ranges,” and (3) Withholding “important

19 information from doctors and patients.” Ex. 3 at 70-75 (Sept. 28, 2020 Gov’t Supp. Rule 404(b)

20 Notice); see also Ex. 1 at 8 (Mar. 6, 2020 Gov’t Rule 404(b) Notice). Each would require the

21 government to come forward with reliable expert opinion supporting its assertions. The government’s

22 failure to do so should foreclose it from presenting this evidence.

23 I.       “Multiplexing test results and disregarding outliers to mask inconsistency.”

24          1.     The government alleges that Theranos “operated its analyzers according to a protocol that

25 included running each assay multiple times and then multiplexing the results in order to derive the final,

26 reported result.” Ex. 1 at 8. According to the government, “this approach tended to mask consistency

27 problems with Theranos’s tests.” Id. In a supplemental disclosure, the government refers to this

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 1 approach as the “six-tip method.” Ex. 3 at 70. It asserts that this evidence “tends to show Defendants’

 2 plan to conceal the accuracy and precision problems with Theranos’s technology as well as their intent

 3 to defraud patients by offering and providing blood tests that were not as precise as they appeared to

 4 be”; “Defendants’ intent to defraud victims by concealing consistency and precision problems inherent

 5 in Theranos’s approach to blood testing”; and “Defendants’ knowledge of the flaws and precision

 6 problems in Theranos’s technology.” Id. at 71.

 7          The only evidence identified by the government that there was anything improper with

 8 Theranos’ approach is the hindsight view of Theranos’ former lab director, Adam Rosendorff, who

 9 approved this approach in real time. Dr. Rosendorff now believes “[i]n retrospect, . . . that he has some

10 concerns about the change to a six-tip method.” Id. at 70 (emphasis added). According to Dr.

11 Rosendorff, “the process, which in effect too averages of averages [sic], could make precision look

12 better than it is.” Id. (emphasis added). Dr. Rosendorff added that the process that he used in real time

13 as Theranos’ lab director was “not good laboratory practice” and “not ideal” and that “it would be better

14 to run the assay a single time using a highly accurate and reliable method, and report that result.” Id.;

15 see also Ex. 5 at 13 (Rosendorff opinion that “[t]his process was not ideal because it may have tended to

16 increase the appearance of precision beyond a lab test’s true performance” (emphasis added)).

17          2.      The propriety of Theranos’ multiplexing method is obviously the subject of expert

18 testimony because it is “based on scientific, technical, or other specialized knowledge.” Fed. R. Evid.

19 701. To prove that Theranos’ multiplexing method was improper thus would require an expert opinion

20 that satisfied the reliability and fit requirements of Rule 702 and Daubert v. Merrell Dow Pharms., Inc.,

21 509 U.S. 579 (1993). So too, the government would need a reliable expert opinion, rooted in sufficient

22 data and a reliable methodology, to prove that Theranos’ multiplexing method actually masked precision

23 problems with Theranos’ tests. See Fed. R. Evid. 702. The government has not disclosed any expert

24 opinion establishing these propositions. As a result, this category of evidence must be excluded.

25          Dr. Rosendorff’s admittedly retrospective “concerns” about the multiplexing approach that he

26 used at Theranos do not qualify as expert opinions under Rule 702. Opinions about “concerns,” or that

27 Thernanos’ approach was “not ideal,” lack the scientific rigor that Rule 702 requires. Such opinions will

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 1 not help the jury. The government has not disclosed the basis and reasons for these opinions, see Fed.

 2 R. Crim. P. 16(a)(1)(G), or any scientific methodology by which Dr. Rosendorff arrived at his change of

 3 heart, see Fed. R. Evid. 702.

 4          In any event, whether multiplexing was a “good laboratory practice” is irrelevant to this case;

 5 Ms. Holmes is not charged with engaging in poor laboratory practices; she is charged with making false

 6 statements about the accuracy and reliability of Theranos’ technology. Reflecting this fact, each of the

 7 government’s proffered Rule 404(b) purposes for this evidence rests on the notion that the multiplexing

 8 approach in fact masked, or concealed, precision problems with Theranos’ tests. But Dr. Rosendorff

 9 does not venture an opinion on that subject. He asserts only that the multiplexing approach “could make

10 precision look better than it is.” Ex. 3 at 70 (emphasis added). That assertion is self-evidently

11 speculative. That non-opinion, which applies no methodology and is not based on data, would be

12 unhelpful to the jury. Without any expert opinion on this subject, the government cannot assert that the

13 multiplexing approach concealed problems with Theranos’ tests. And because this assertion is central to

14 each of the Rule 404(b) purposes for which the government is offering this evidence, the evidence of

15 multiplexing is irrelevant and will confuse the jury, and thus must be excluded.

16 II.      “Improperly setting and altering reference ranges.”

17          1.      According to the government, Theranos’ procedures for setting the reference ranges for

18 its tests “deviated from industry standards and standard testing protocols approved by FDA and

19 validated by the industry.” Ex. 1 at 8. A reference range is a range of test values obtained by testing

20 individuals assumed to be healthy, and it typically represents the range of values reported by the middle

21 95 percent of such individuals. The government also claims that Theranos “improperly adjusted

22 reference ranges based on individual clinical results—without conducting sufficient studies to justify

23 such adjustment.” Id. The government claims that this alleged evidence proves, among other things,

24 “Defendants’ intent to defraud victims by offering and providing blood testing services that produced

25 unreliable results” and “Defendants’ intent to defraud patients by bringing abnormal results within

26 normal ranges to avoid scrutiny of Theranos’ tests.” Ex. 3 at 72.

27          The government attempted to give content to these vague disclosures in its supplemental Rule

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 1 404(b) disclosure, identifying four internal Theranos e-mails, only two of which involve Ms. Holmes.

 2          2.      None of the disclosed evidence establishes the government’s allegations. The

 3 government has not disclosed any opinion describing the content of “industry standards and standard

 4 testing protocols approved by FDA and validated by the industry,” let alone concluding that Theranos

 5 “deviated” from such standards and protocols. Ex. 1 at 8. At most, the government’s evidence shows

 6 that Dr. Rosendorff “would have preferred to set reference ranges before the launch of clinical testing

 7 services” and that he had disagreements with other unnamed Theranos employees “as to whether there

 8 should be specific reference ranges for fingerstick samples distinct from the ranges for venous samples.”

 9 Ex. 3 at 71 (emphasis added). Neither of those even approaches an opinion about violating industry

10 standards. Nor has the government identified any other expert who will offer such an opinion. And

11 because any testimony about violating industry standards relating to reference ranges would be “based

12 on scientific, technical, or other specialized knowledge,” it could only be presented by a qualified

13 expert. Fed. R. Evid. 701.

14          Nor does the disclosed evidence suggest that Theranos “improperly adjusted reference ranges

15 based on individual clinical results—without conducting sufficient studies to justify such adjustment.”

16 Ex. 1 at 8. The sum total of evidence disclosed by the government in its Rule 404(b) notice about such

17 adjustments is one email. See Ex. 3 at 71-72. The email describes tests conducted as part of a June

18 2013 voluntary “demo” (i.e., demonstration) that occurred months before Theranos started conducting

19 clinical testing on its proprietary devices in the CLIA lab. Id. Any practices purportedly described in

20 that email do not reflect the clinical testing that Theranos conducted for paying patients through its

21 CLIA lab. Moreover, no expert has opined that the action purportedly reflected in this e-mail was

22 “improper” as it relates to clinical testing or that certain “studies” would be required to make this

23 adjustment.

24          Because the government has not disclosed any expert opinion suggesting that Theranos’ actions

25 regarding references ranges—most of which the government cannot even tie to Ms. Holmes—were

26 improper, this alleged evidence has no tendency to prove any of the inflammatory Rule 404(b) purposes

27 for which the government offers it. For example, the government has disclosed no evidence from which

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 1 a jury could find that Theranos’ reference ranges produced “unreliable results,” Ex. 3 at 72, or that Ms.

 2 Holmes intended to defraud patients by offering tests that produced unreliable results. The court should

 3 exclude this irrelevant evidence regarding Theranos’ reference ranges.

 4 III.     Withholding “important information from doctors and patients.”

 5          1.     Finally, the government claims that Theranos “withheld” from doctors and patients

 6 information such as “what type of analyzer had been used for a given test,” “the fact that Theranos’ tests

 7 were not FDA approved,” that Theranos “relied on third-party analyzers for many of its tests,” and other

 8 (unidentified) “key facts.” Ex. 1 at 8. In its supplemental disclosure, the government explains that Dr.

 9 Rosendorff, Theranos’ lab director, advocated stating on the lab reports whether the blood was collected

10 by fingerstick or venous draw. Ex. 3 at 74. According to the government, this evidence proves Ms.

11 Holmes’ “intent to defraud by depriving them of the information they believed they would receive when

12 patronizing Theranos’ services” and “knowledge of the accuracy and reliability problems with

13 Theranos’ tests,” among other things. Id. at 74-75.

14          2.     The government has not disclosed any reliable opinion on the subject of what information

15 should be included on laboratory reports. Although Dr. Rosendorff states that he advocated to identify

16 the method of blood draw on the reports, the government has not identified any bases or reasons for that

17 opinion, or any methodology he applied to arrive at it. The government’s retained expert, Dr. Stephen

18 Master, opines that lab reports should disclose if blood was tested with a laboratory-developed test, but

19 he likewise disclosed no methodology for arriving at that opinion. See Ms. Holmes’ Mot. To Exclude

20 the Expert Opinions of Dr. Stephen Master. No expert has identified any industry standards regarding

21 what information should be included in lab reports. And, even if the government had admissible expert

22 opinion on this subject, it would be irrelevant. Ms. Holmes is not charged with providing inadequate lab

23 reports; she is charged with making misrepresentations about whether Theranos’ technology was

24 capable of consistently producing accurate and reliable results. See Third Superseding Indictment, ECF

25 469, ¶ 16. Whether Theranos’ lab reports complied with industry standards regarding what should be

26 included in reports says nothing about whether the results disclosed in those reports were accurate and

27 reliable.

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 1                                               *       *       *

 2          Each of these categories of evidence would require an expert opinion to establish that Theranos

 3 did anything improper and that its practices had any impact on the adequacy and reliability of its

 4 technology. The government has failed to disclose one. The evidence is thus inadmissible under Rules

 5 701-702, and absent any supporting expert opinion, it is irrelevant and thus inadmissible under Rule

 6 401-402. In addition, these evidentiary discursions into aspects of Theranos’ laboratory practices that

 7 are not the basis of the wire-fraud charges in this case and that do not prove the accuracy and reliability

 8 of Theranos’ test will confuse the jury, waste time, and spawn mini-trials having little probative value to

 9 any issue in dispute. Accordingly, this evidence is also inadmissible under Rule 403.

10                                               CONCLUSION

11          For the foregoing reasons, the Court should exclude evidence of “multiplexing test results and

12 disregarding outliers to mask inconsistency,” “improperly setting and altering reference ranges,” and

13 withholding “important information from doctors and patients.”

14

15
     DATED: November 20, 2020                             Respectfully submitted,
16

17
                                                          /s/ Amy Mason Saharia
18                                                        KEVIN DOWNEY
                                                          LANCE WADE
19                                                        AMY MASON SAHARIA
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 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on November 20, 2020, a copy of this filing was delivered via ECF on all

 3 counsel of record.

 4

 5
                                                        /s/ Amy Mason Saharia
 6                                                      AMY MASON SAHARIA
                                                        Attorney for Elizabeth Holmes
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